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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 NATIONAL PUBLIC RADIO, INC., et al.,               )
                                                    )
                Plaintiffs,                         )
                                                    )
        v.                                          )
                                                             Civil Action No. 20-3259 (CKK)
                                                    )
 U.S. DEPARTMENT OF HEALTH AND                      )
 HUMAN SERVICES,                                    )
                                                    )
                Defendant.                          )
                                                    )

                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this action hereby

stipulate to dismiss this action with prejudice pursuant to the parties’ settlement agreement

executed in connection with this matter.

Respectfully submitted,

 BALLARD SPAHR LLP                               CHANNING D. PHILLIPS, D.C. Bar #415793
                                                 Acting United States Attorney
 /s/ Matthew E. Kelley
 Matthew E. Kelley (D.C. Bar No. 1018126)        BRIAN P. HUDAK
 1909 K Street, NW, 12th Floor                   Acting Chief, Civil Division
 Washington, DC 20006
 Tel: (202) 508-1112
 Fax: (202) 661-2299                             By:     /s/ Michael A. Tilghman II
 kelleym@ballardspahr.com                                 MICHAEL A. TILGHMAN II
                                                          D.C. Bar #988441
 David J. Bodney (D.D.C. Bar No. AZ0022)                  Assistant United States Attorney
 BALLARD SPAHR LLP                                        U.S. Attorney’s Office, Civil Division
 1 East Washington Street, Suite 2300                     555 Fourth Street, NW
 Phoenix, AZ 85004                                        Washington, DC 20530
 Tel: (602) 798-5400                                      (202) 252-7113
 Fax: (602) 798-5595                                      Michael.Tilghman@usdoj.gov
 bodneyd@ballardspahr.com
                                                 Attorneys for the United States of America
 Counsel for Plaintiffs

Dated: May 20, 2021
